      Case 1:21-cv-00151-GNS Document 1 Filed 11/15/21 Page 1 of 6 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION
                                Case No. 1:21-cv-00151-GNS
                                         _________________
                                    Electronically Filed

JASON JONES                                      )                       1:21-cv-00151-GNS
                                                         CIVIL ACTION NO.______________
102 Azalea Court                                 )
Clarksville, Tennessee 37042                     )
                                                 )
                        Plaintiff                )
vs.                                              )       JUDGE Chief Judge Greg N. Stivers
                                                               _____________________
                                                 )
FLUOR FACILTY & PLANT                            )       COMPLAINT WITH JURY DEMAND
SERVICES, INC.                                   )
100 Fluor Daniel Drive                           )
Greenville, SC 29607                             )
                                                 )
Serve: Corporation Service Company               )
       421 W Main St.,                           )
       Frankfort, KY 40601                       )
                                                 )
                        Defendant                )


                                COMPLAINT AND JURY DEMAND

         Come now the Plaintiff, Jason Jones, by and through counsel, and for his Complaint against

Defendant, states as follows:

                                    PARTIES AND JURISDICTION

         1.     At all times relevant hereto Plaintiff, Jason Jones, was a resident and citizen of

Montgomery County, Tennessee.

         2.     At all times relevant hereto, Defendant, Fluor Facility and Plant Services, Inc.,

(“Fluor”) was a Kentucky Foreign Corporation, with its principal office at 100 Fluor Daniel

Drive, Greenville, SC 29607. Fluor conducts business in Kentucky through its office at 6920

Lewisburg Rd, Russellville, KY 42276 in Logan County, Kentucky. Fluor was at all times




                                                     1
   Case 1:21-cv-00151-GNS Document 1 Filed 11/15/21 Page 2 of 6 PageID #: 2




mentioned herein an employer within the meaning of Title VII of the Civil Rights Act of 1964, as

amended, and KRS § 344, et seq.

        3.       Plaintiff was employed by Defendant in Logan County, Kentucky, and the

employment practices complained of herein all occurred in Logan County, Kentucky.

        4.       Subject matter jurisdiction exists in this Court under 42 U.S.C.

§2000, 28 U.S.C §1331, and 28 USC §1367 and other applicable laws.

        5.       The amount in controversy exceeds the minimum jurisdictional amount to

establish Diversity of Citizenship jurisdiction.

        6.       This Complaint has been filed within the statute of limitations period established

for the claims arising herein.

        7.       Original jurisdiction is appropriate in this Court based upon diversity of citizenship

jurisdiction.

        8.       Venue in the Western District of Kentucky is appropriate pursuant to 28 U.S.C.

§1391 in that a substantial part of the events giving rise to the claim occurred within this district.

                             ADMINISTRATIVE REQUIREMENTS

        9.       Within 300 days of the conduct set forth below, Plaintiff filed a charge of

Discrimination (“Charge”) with the Equal Employment Opportunity Commission, Charge No.

474-2021-00580 against Fluor alleging discrimination on the basis of his race and retaliation in

violation of Title VII of the Civil Rights Act of 1964, as amended.

        10.      On or about August 17, 2021, the EEOC issued a Right to Sue letter to Plaintiff.

        11.      Plaintiff received his RTS from the EEOC in accordance with 42 U.S.C.

§2000e5(f)(1).

        12.      Plaintiff has filed the instant action within 90 days of his receipt of the RTS.




                                                   2
   Case 1:21-cv-00151-GNS Document 1 Filed 11/15/21 Page 3 of 6 PageID #: 3




       13.      Plaintiff has exhausted his administrative requirements pursuant to 29 C.F.R.

§1614.407(b).

                            FACTS RELEVANT TO ALL CLAIMS

       14.      Plaintiff is an African American male.

       15.      Plaintiff was hired by Defendant to work on the maintenance team at the Logan

Aluminum plant in or around late-May 2020.


       16.      Plaintiff is the only current African-American employee at Fluor’s operation at

Logan Aluminum.


       17.      On numerous occasions during his employment with Defendant, Plaintiff was

subjected to constant racially discriminatory comments and treatment. This includes but is not

limited to: the use of racial slurs directed at Plaintiff by white co-workers, co-workers making

racist jokes, co-workers making comments about Plaintiff’s skin color, and co-workers using

demeaning and racist stereotypes.


       18.      On at least one occasion in or around November 2020, Plaintiffs’ white co-

workers asked management if they could use racial slurs and stated that it was a part of their

vocabulary and that Plaintiff needed to accept them using racial slurs.


       19.      Plaintiff has reported race discrimination to management on multiple occasions.

This includes, but is not limited to: contacting Human Resources on several occasions since the

start of his employment, submitting a written complaint to management in or around March,

2021, and discussing his complaints with Art Riley, Dawn Gallegos, Casey Craig, and Mark

Thornberry on multiple occasions.




                                                 3
   Case 1:21-cv-00151-GNS Document 1 Filed 11/15/21 Page 4 of 6 PageID #: 4




        20.     Plaintiff’s manager, Mark Thornberry, also submitted a written statement

confirming the race discrimination Plaintiff was experiencing.


        21.     Despite his well-documented complaints, Defendant has taken no remedial action.


        22.     Since his first complaint of race discrimination, Plaintiff has been subjected to

constant retaliation by management and co-workers. For example, Plaintiff is intentionally

isolated by his co-workers, even in job-related tasks. Also, Plaintiff was scolded by Human

Resources about why he was reporting discrimination. Despite knowledge of Plaintiffs

complaints of race discrimination and retaliation, Defendant has taken no remedial action to

protect Plaintiff from further retaliation.

        23.     As a direct result of Defendant’s acts or failures to act stated herein, Plaintiff has

suffered and continues to suffer irreparable harm, including but not limited to pain and suffering,

emotional distress, and mental anxiety for which he is entitled to compensation.

                                 COUNT I
              RACE DISCRIMINATION/HOSTILE WORK ENVIRONMENT

        24.     Plaintiff herein incorporates by reference all allegations previously set forth in

this Complaint, the same as if set forth verbatim herein.

        25.     The actions described herein created a racially hostile and racially discriminatory

work environment in violation of Title VII of the Civil Rights Act of 1964, as amended, and

KRS § 344, et seq.

        26.     As a direct and proximate result of Plaintiff’s conduct described herein, Plaintiff

has suffered mental and emotional distress, for which he should receive compensatory and

punitive damages as well as his reasonable attorney fees and costs.

                                              COUNT II


                                                   4
   Case 1:21-cv-00151-GNS Document 1 Filed 11/15/21 Page 5 of 6 PageID #: 5




                                         RETALIATION

       27.     Plaintiff herein incorporates by reference all allegations previously set forth in

this Complaint, the same as if set forth verbatim herein.

       28.     Once Plaintiff complained of the illegal hostile work environment, Defendant

took numerous retaliatory acts against Plaintiff.

       29.     As a direct and proximate result of Defendant’s conduct herein, Plaintiff has

suffered a loss of income and benefits, severe emotional distress and mental anxiety, all for

which he should be compensated.

       WHEREFORE, the Plaintiff, Jason Jones, demands judgment against the Defendant as

follows:

       A.      For all compensatory, emotional distress, and punitive damages with respect to

               statutory claims in an amount being just;

       B.      For an award of reasonable costs and attorney fees; and

       C.      For any and all other equitable and legal relief to which Plaintiff appears entitled.



                                              Respectfully submitted,


                                              s/ Anthony J. Bucher
                                              Anthony J. Bucher (KBA #87126)
                                              GATLIN VOELKER, PLLC
                                              50 E. Rivercenter Blvd., Ste. #1275
                                              Covington, Kentucky 41011
                                              (859) 781-9100
                                              tbucher@gatlinvoelker.com



                                        JURY DEMAND

       Plaintiff herein demands a trial by jury.



                                                    5
Case 1:21-cv-00151-GNS Document 1 Filed 11/15/21 Page 6 of 6 PageID #: 6




                                 /s/ Anthony J. Bucher
                                 Anthony J. Bucher




                                    6
